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                                  8
                                  9   Attorneys for Plaintiff and Proposed Class

                                 10                      UNITED STATES DISTRICT COURT
                                 11
                                                  FOR THE EASTERN DISTRICT OF CALIFORNIA
                                 12
                                      DANIEL CERVANTES, individually CASE NO.: 2:22-CV-00888-JAM-KJN
                                 13
3055 Wilshire Blvd, 12th Floor
Los Angeles, CA 90010-1137
 WILSHIRE LAW FIRM, PLC




                                      and on behalf of all others similarly
                                      situated,
                                 14                                         Honorable Judge Kimberly J. Mueller
                                 15                        Plaintiff,
                                 16         v.
                                 17
                                                                              NOTICE OF SETTLEMENT
                                 18   ROOSEVELT HOTEL, LLC d/b/a
                                      THE HOLLYWOOD ROOSEVELT, Complaint Filed: May 25, 2022
                                 19   a California limited liability company;
                                      and DOES 1 to 10, inclusive,            Trial Date: None
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                                 22                       Defendants.
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                                                                        NOTICE OF SETTLEMENT
                                           Case 2:22-cv-00888-JAM-KJN Document 6 Filed 07/29/22 Page 2 of 3


                                  1         Plaintiff, Daniel Cervantes (“Plaintiff”) hereby notifies the Court that the
                                  2   claims of Plaintiff have settled on an individual basis. A notice of dismissal with
                                  3   prejudice of Plaintiff’s individual claims and without prejudice of the claims of the
                                  4   purported class in accordance with Federal Rule of Civil Procedure 41(a)(1)(A)(ii)
                                  5   will be filed upon execution of a formal settlement agreement. Plaintiff reserves
                                  6   the right to reopen within forty-five (45) days if a settlement is not finalized.
                                  7
                                  8   Dated: July 29, 2022                           Respectfully Submitted,
                                  9
                                 10                                               /s/ Binyamin I. Manoucheri
                                                                                  Binyamin I. Manoucheri
                                 11                                           WILSHIRE LAW FIRM
                                 12                                               Attorneys for Plaintiff and
                                                                                  Proposed Class
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                                  1                            CERTIFICATE OF SERVICE

                                  2
                                            The undersigned hereby certifies that on July 29, 2022, a true and correct
                                  3
                                      copy of the foregoing was electronically filed with the Clerk of the Court using the
                                  4
                                      Court’s CM/ECF system, which sent notification to all counsel of record, who are
                                  5
                                      deemed to have consented to electronic service via the CM/ECF system.
                                  6
                                  7
                                      Dated: July 29, 2022                         /s/ Binyamin I. Manoucheri
                                  8                                                Binyamin I. Manoucheri
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                                                                     NOTICE OF SETTLEMENT
